Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 1 of 32




                   EXHIBIT A
  Case 1:24-md-03119-MLG-LF             Document 126-1       Filed 02/24/25      Page 2 of 32




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


     In re: Shale Oil Antitrust Litigation          Case No. 1:24-md-03119-MLG-LF

     This Document Relates to:                      Judge Matthew L. Garcia

     ALL ACTIONS


                       DECLARATION OF ALLIE WENDELL
                IN SUPPORT OF OCCIDENTAL’S MOTION TO DISMISS

        I, Allie Wendell, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.     I am a paralegal with the law firm of Kirkland & Ellis LLP, which represents

Defendant Occidental Petroleum Corporation (“Occidental”).

        2.     I submit this declaration in support of Occidental’s Motion to Dismiss.

        3.     Attached hereto are true and correct copies of the following exhibits cited in

Occidental’s Motion to Dismiss:


 Exhibit                                         Document

    1        Occidental Petroleum Corporation 4Q2018 Earnings Conference Call Presentation
             Slides, dated February 13, 2019

    2        Occidental Petroleum Corporation 2Q2019 Earnings Conference Call Presentation
             Slides, dated August 1, 2019

    3        Occidental Petroleum Corporation Form 10-K for the fiscal year ended
             December 31, 2019

    4        Occidental Petroleum Corporation Schedule 14A 2024 Proxy Statement, dated
             March 21, 2024

    5        Occidental Petroleum Corporation Schedule 14A 2022 Proxy Statement, dated
             March 25, 2022

    6        Occidental Petroleum Corporation 4Q2019 Earnings Conference Call Transcript,
             dated February 28, 2020
  Case 1:24-md-03119-MLG-LF              Document 126-1        Filed 02/24/25       Page 3 of 32




 Exhibit                                          Document

     7      Occidental Petroleum Corporation 3Q2019 Earnings Conference Call Presentation
            Slides, dated November 5, 2019

     8      Occidental Petroleum Corporation Form 8-K, dated January 10, 2024



I declare under penalty of perjury that the foregoing facts are true and correct.


 Executed: February 24, 2025
           New York, NY
                                                      Allie Wendell




                                                  2
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 4 of 32




                   EXHIBIT 1
                          Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 5 of 32



Fourth Quarter 2018
Earnings Conference Call
Occidental Petroleum Corporation
February 13, 2019
Value Based Cash Flow Growth
                                                 Case 1:24-md-03119-MLG-LF              Document 126-1   Filed 02/24/25   Page 6 of 32




Value Based Returns                                                                                                          Cash Distributions
        2002 - 2016 2017 2018
                                                                                                                                $2.4 B Dividends in 2018
 ROCE: 11% Avg      5% 14%                                                             Cash Flow
                                                                                         Growth                                 $1.3 B Shares Repurchased
 CROCE: 21% Avg    18% 27%
                                                                                                                                 in 2018

2017 to 2018 Growth                                                                                                             Consecutive Dividend Growth
 CFFO1:       74%                                                                                                               Since 2002 - 12% CAGR
 EPS:        463%                                                                                                              $33 B of Total Capital
 Production2: 11%                                                                 Sustainable                                   Returned Since 2002
                                                                                     Returns                               48% of the $33 B Returned in
Credit Ratings                                                                                                              the Last 5 Years
 A/A3/A Stable                                          ROCE                                                    Return of
                                                       Generation                                                 Capital


   1Cash flow from operations before working capital
   2Production from ongoing operations
                                                                                                                                                             5
   Note: See the reconciliations to comparable GAAP financial measures on our website
2019 Capital Flexibility with Short-cycle Investments
                                               Case 1:24-md-03119-MLG-LF      Document 126-1    Filed 02/24/25   Page 7 of 32




        2019 Capital Program                                                                   2019 Capital Program by Type
                                                                                Exploration
    $4.5 B Capital Program
                                                                                    3%                                                      Facilities
  9 - 11% Production Growth
                                                                                                                       D&C                    24%
                   $0.3                      Chemicals                                                                 61%
                   $0.1                                                                  Total                                                    Base
                   $0.2                                                                                                         Oil & Gas
                                             Midstream
                                                                                       Company                                                 Maintenance
                   $0.8                                                      Growth                                                               12%
                                                                                                          Sustaining1
                                                                              42%                                                           Exploration
                   $0.5                      Exploration & Other                                             55%
                                                                                                                                                3%

                                             International
                                                                                      Payback for 2019 Development Capital2
                   $2.6                      Permian EOR                                                                                    20%
                                                                                                                       25%
                                             Permian Resources                                 55%


   2019 Captial Program

  1Sustaining capital based on a 2019E production base decline rate of 20%
                                                                                         <2 Years                   2-3 Years           >3 Years
  2Payback based on $50 WTI                                                                                                                                  6
Oxy’s Sustainable Value Proposition
                          Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 8 of 32




    Integrated Business Model                                                           Returns Focused Growth
Industry Leading Base Decline Rate in Oil                                         Permian Resources is Driving High-
  and Gas, Sustainable Cash Generation                                          Return Growth with the Best Wells in the
 from OxyChem, Expanded Global Market                                            Permian Basin and Benefits from an
   Access Through Midstream Business                                                   Advantaged Cost Position



     Growth within Cash Flow                        CROCE                                 Robust, Low-Cost Inventory
  Long-Term Production Growth of                  Leadership                          Decades of Global Inventory:
  5 - 8+% while Targeting a Return                                                   Conventional, Unconventional,
       of Over $3.1 B in Cash to                                               EOR (CO2, Water, Steam, & Gas Injection)
        Shareholders in 2019                                                  Diverse Inventory and Recovery Techniques
                                                                                    Enhance Sustainable Cash Flow

                              Environmental, Social and Governance
                     Executive Compensation Aligned with Shareholder Value Creation
                                  Uniquely Positioned to Advance CCUS
                           Proactive Social Responsibility Programs Worldwide
                                     Industry Leading Human Capital                                                    18
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 9 of 32




                   EXHIBIT 2
                       Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 10 of 32




Second Quarter
Earnings Conference Call
Occidental Petroleum Corporation
August 1, 2019
                             Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 11 of 32

Cash Flow
                                                                                     • Maintain low cost production
Priorities for                         Maintenance Capital                             base
Combined
                                                                                     • Maintain and grow current
Company                                Sustainable Dividend                            dividend per share at a
                                                                                       sustainable level
Deleveraging target
expected to be met                                                                   • Commitment to deleveraging to
primarily through asset                    Debt Reduction                              align with historical credit
sales as well as cash flow                                                             metrics
growth
                                                                                     • Reduce combined capital spend
Debt reduction will be                      Growth Capital                             to support annual production
prioritized over growth                                                                growth of 5%
capital until deleveraging
target is met
                                                                                     • Repurchase shares once
                                         Share Repurchase                              deleveraging is complete


                                                                                                                       21
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 12 of 32




                    EXHIBIT 3
              Case 1:24-md-03119-MLG-LF                                Document 126-1                   Filed 02/24/25             Page 13 of 32
                                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549

                                                                           Form 10-K
            ☑ Annual Report Pursuant to Section 13 or 15(d) of the                   ☐ Transition Report Pursuant to Section 13 or 15(d) of the
              Securities Exchange Act of 1934                                          Securities Exchange Act of 1934
               For the fiscal year ended December 31, 2019                               For the transition period from                  to
                                                               Commission File Number 1-9210
                                           Occidental Petroleum Corporation
                                                        (Exact name of registrant as specified in its charter)

            State or other jurisdiction of incorporation or organization              Delaware
            I.R.S. Employer Identification No.                                        XX-XXXXXXX
            Address of principal executive offices                                    5 Greenway Plaza, Suite 110 Houston, Texas
            Zip Code                                                                  77046
            Registrant’s telephone number, including area code                         (713) 215-7000

                                                        Securities registered pursuant to Section 12(b) of the Act:

            Title of Each Class                                            Trading Symbol              Name of Each Exchange on Which Registered
            Common Stock, $0.20 par value                                       OXY                                        New York Stock Exchange

                                                     Securities registered pursuant to Section 12(g) of the Act: None
  Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.         Yes ☑ No ☐
  Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐ No ☑
  Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934
during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing
requirements for the past 90 days.   Yes ☑ No ☐
   Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of
Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such
files).    Yes ☑ No ☐
  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or
an emerging growth company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company” and “emerging growth
company” in Rule 12b-2 of the Exchange Act.

Large Accelerated Filer                   ☑               Accelerated Filer                        ☐                  Emerging Growth Company     ☐
Non-Accelerated Filer                     ☐               Smaller Reporting Company                ☐

  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any
new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐

  Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes ☐ No ☑

  The aggregate market value of the registrant’s Common Stock held by nonaffiliates of the registrant was approximately $45.0 billion, computed by
reference to the closing price on the New York Stock Exchange composite tape of $50.28 per share of Common Stock on June 28, 2019.

                       At January 31, 2020, there were 895,224,961 shares of Common Stock outstanding, par value $0.20 per share.

                                                      DOCUMENTS INCORPORATED BY REFERENCE
   Portions of the registrant’s definitive Proxy Statement, relating to its 2020 Annual Meeting of Stockholders, are incorporated by reference into Part III of
this Form 10-K.
             Case 1:24-md-03119-MLG-LF
           MANAGEMENT’S                      Document 126-1
                        DISCUSSION AND ANALYSIS                                               Filed 02/24/25             Page 14 of 32


     International oil and gas results, excluding significant items affecting comparability, decreased in 2019 compared to 2018 primarily due to
lower volumes from the expiration of the ISND contract and early termination of the ISSD contract as well as a decrease in realized oil prices in
Latin America and the Middle East. International oil and gas results, excluding significant items affecting comparability, increased in 2018
compared to 2017 primarily due to an increase in realized oil prices in Latin America and the Middle East, respectively.

Production
     The following table sets forth the production volumes of oil, NGL and natural gas per day from ongoing operations for each of the three years
in the period ended December 31, 2019 and includes a year-over-year change calculation:

                                                                                         Year over                          Year over
                                                                                              Year                               Year
Production per Day from Ongoing Operations (MBOE/d)                          2019         Change                 2018        Change                 2017
United States
      Permian Resources                                                        355               66 %             214               52 %             141
      Permian EOR                                                              154               —%               154                3%              150
      DJ Basin                                                                 120             N/A                 —               N/A                 —
      Gulf of Mexico                                                            58             N/A                 —               N/A                 —
      Other Domestic                                                            27             N/A                   4             N/A                  5
      Total                                                                    714               92 %             372               26 %             296
Latin America                                                                   34                6%               32               —%                32
Middle East
      Al Hosn Gas                                                               82               12 %              73                3%               71
      Dolphin                                                                   42                5%               40               (5)%              42
      Oman                                                                      89                3%               86               (9)%              95
      Qatar                                                                     35              (36)%              55               (5)%              58
      Total                                                                    248               (2)%             254               (5)%             266
Total Production from Ongoing Operations                                       996               51 %             658               11 %             594
      Sold domestic operations                                                  —              N/A                 —               N/A                  8
      Discontinued operations - Africa Assets                                   33             N/A                 —               N/A                 —
Total Production (MBOE/d) (a)                                                1,029               56 %             658                9%              602
(a)
      Natural gas volumes have been converted to BOE based on energy content of six Mcf of gas to one barrel of oil. Barrels of oil equivalence does not
      necessarily result in price equivalence. Please refer to “Supplemental Oil and Gas Information (unaudited)” for additional information on oil and gas
      production and sales.
     Average daily production volumes from ongoing operations increased in 2019 compared to 2018 primarily due to 264 MBOE/d in acquired
production from the Acquisition, including 120 MBOE/d in DJ Basin, 58 MBOE/d in the Gulf of Mexico and 63 MBOE/d in the Delaware Basin, as
well as an increase of 78 MBOE/d in the legacy Occidental Permian Resources operations as a result of increased drilling and well productivity.
     Average daily production volumes from ongoing operations increased in 2018 compared to 2017 primarily due to higher Permian Resources
production which increased by 52% from the prior year, due to developmental drilling activity and improved well performance.

Lease operating expense
   The following table sets forth the average lease operating expense per BOE from ongoing operations for each of the three years in the period
ended December 31, 2019:

                                                                                                                   2019             2018             2017
Average lease operating expense per BOE                                                                            $9.19          $11.52           $11.20

     Average lease operating expense per BOE, decreased in 2019 compared to 2018 primarily due to operational efficiencies related to
maintenance and support cost. Combined 2019 Permian Resources lease operating expense per BOE, was $6.80 which represented a decrease
of 6% from the prior year.
     Average lease operating costs per BOE, excluding taxes other than on income, increased in 2018 compared to 2017 primarily due to
increased surface operations and maintenance costs. Permian Resources lease operating costs per BOE for 2018 decreased by 10% from the
prior year, and the fourth quarter of 2018 costs were below $7.00 per BOE, due to continued improved operational efficiencies.


                                                                                                                           OXY 2019 FORM 10-K                 35
              Case 1:24-md-03119-MLG-LF
            MANAGEMENT’S                      Document 126-1
                         DISCUSSION AND ANALYSIS                                           Filed 02/24/25            Page 15 of 32



     LIQUIDITY AND CAPITAL RESOURCES
      At December 31, 2019, Occidental had approximately $3.0 billion in cash and cash equivalents. A substantial majority of this cash is held
 and available for use in the United States. At December 31, 2019, Occidental had $0.5 billion in restricted cash and restricted cash equivalents,
 which was primarily associated with a benefits trust for former Anadarko employees that was funded as part of the Acquisition. Restricted cash
 within the benefits trust will be made available to Occidental as benefits are paid to former Anadarko employees.

 DEBT ACTIVITY
     In August 2019, Occidental issued $13.0 billion of new senior unsecured notes, consisting of both floating and fixed rate debt. Occidental
 also borrowed under the Term Loans, which consisted of: (1) a 364-day senior unsecured variable-rate term loan tranche of $4.4 billion and (2) a
 two-year senior unsecured variable-rate term loan tranche of $4.4 billion. In total, the $21.8 billion in debt issued was used to finance part of the
 cash portion of the purchase price for the Acquisition. Through the Acquisition, Occidental assumed Anadarko debt with an outstanding principal
 balance of $11.9 billion.
     In 2019, Occidental paid approximately $7.0 billion of long-term debt including a majority of the Term Loans using proceeds from assets
 sales and available cash.
     On June 3, 2019, Occidental entered into an amendment to its existing $3.0 billion revolving credit facility (Occidental RCF) pursuant to
 which, among other things, the commitments under the Occidental RCF were increased to $5.0 billion at the closing of the Acquisition.
 Borrowings under the Occidental RCF bear interest at various benchmark rates, including London Inter-Bank Offered Rate (LIBOR), plus a
 margin based on Occidental’s senior debt-ratings. The facility has similar terms to other debt agreements and does not contain material adverse
 change clauses or debt ratings triggers that could restrict Occidental’s ability to borrow, or that would permit lenders to terminate their
 commitments or accelerate debt repayment. The facility provides for the termination of loan commitments and requires immediate repayment of
 any outstanding amounts if certain events of default occur. Occidental has not drawn down any amounts under the Occidental RCF.
     As of December 31, 2019, under the most restrictive covenants of its financing agreements, Occidental had substantial capacity for
 additional unsecured borrowings, the payment of cash dividends and other distributions on, or acquisitions of, Occidental stock.
     With a continued focus on capital and operational efficiencies, Occidental expects to fund its liquidity needs, including future dividend
 payments, through cash on hand, cash generated from operations, monetization of non-core assets or investments and, if necessary, proceeds
 from other forms of capital issuance.

 CASH FLOW ANALYSIS
 CASH PROVIDED BY OPERATING ACTIVITIES

 millions                                                                                                     2019            2018             2017
 Operating cash flow from continuing operations                                                       $      7,203    $       7,669    $      4,861
 Operating cash flow from discontinued operations, net of taxes                                                172               —                —
 Net cash provided by operating activities                                                            $      7,375    $       7,669    $      4,861

      Cash provided by operating activities decreased $294 million in 2019 compared to 2018, reflecting Acquisition related costs, higher interest
 expense, and slightly lower oil prices, which were partially offset by a 92% increase in domestic production volumes.
      Cash provided by operating activities increased $2.8 billion in 2018 compared to 2017, reflecting higher realized worldwide oil and NGL
 prices, which increased by 24% and 21%, respectively, as well as a 25% increase in domestic oil volumes. Operating cash flows in 2018 also
 benefited from higher marketing margins in the marketing and midstream segment due to improved Midland-to-Gulf Coast spreads and higher
 chemical margins from significant improvements in caustic soda prices.




40    OXY 2019 FORM 10-K
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 16 of 32




                    EXHIBIT 4
Case 1:24-md-03119-MLG-LF                        Document 126-1                       Filed 02/24/25     Page 17 of 32

                                              UNITED STATES
                                  SECURITIES AND EXCHANGE COMMISSION
                                           Washington, D.C. 20549
                                                      SCHEDULE 14A
                                 Proxy Statement Pursuant to Section 14(a) of the
                                Securities Exchange Act of 1934 (Amendment No. )

໩ Filed by the Registrant                                        ໨ Filed by a party other than the Registrant


 CHECK THE APPROPRIATE BOX:
 ໨ Preliminary Proxy Statement
 ໨ Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
 ໩ Definitive Proxy Statement
 ໨ Definitive Additional Materials
 ໨ Soliciting Material under §240.14a-12

                                                           ~
                                                           DXV
                                                           ~
                                             Occidental Petroleum Corporation
                                        (Name of Registrant as Specified In Its Charter)
                              (Name of Person(s) Filing Proxy Statement, if other than the Registrant)




 PAYMENT OF FILING FEE (CHECK ALL BOXES THAT APPLY):
 ໩ No fee required
 ໨ Fee paid previously with preliminary materials
 ໨ Fee computed on table in exhibit required by Item 25(b) per Exchange Act Rules 14a-6(i)(1) and 0-11
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 18 of 32
             Case 1:24-md-03119-MLG-LF                                 Document 126-1                     Filed 02/24/25                 Page 19 of 32


-97IF=HM)KB9FG<=D
9FH5=B9B9:=7=5@)KB9FG5B8'5B5;9A9BH
 <N@?JI<M@QD@RJAJRI@MNCDKM@KJMONADG@?RDOCOC@1#!JIJM=@AJM@+<M>C  OC@@IODOD@NGDNO@?=@GJR<M@OC@JIGT=@I@AD>D<G
JRI@MNJABM@<O@MOC<IJA->>D?@IO<G\NJPONO<I?DIBQJODIBN@>PMDOD@N<NJA+<M>C 2CDNDIAJMH<ODJIH<TIJO=@<>>PM<O@JM
>JHKG@O@ <I?->>D?@IO<GO<F@NIJM@NKJIND=DGDOTAJMNP>CDIAJMH<ODJI<I?H<F@NIJM@KM@N@IO<ODJI<NOJDON<>>PM<>TJM>JHKG@O@I@NN<N
JAOC@?<O@C@M@JAJM<ITNP=N@LP@IO?<O@2CDNDIAJMH<ODJI?J@NIJODI>GP?@>C<IB@NDINC<M@JRI@MNCDKM@KJMO@?=TOC@M@KJMODIBK@MNJI
<AO@MOC@?<O@JAOCDNO<=G@

 ( ##&)1(,-"#*) -",")&,-

                                                                    .CH5@
                                                               (IA69FC:           *9F79BHC:
                                                              -<5F9G5B8          )IHGH5B8=B;                -C@9            -<5F98              -C@9               -<5F98
                                                                15FF5BHG            CAACB                 0CH=B;           0CH=B;       #BJ9GHA9BH           #BJ9GHA9BH
 (5A95B888F9GG                                                  )KB98              -HC7?             *CK9F              *CK9F            *CK9F                 *CK9F
 5<MM@I# PAA@OO<I?<AADGD<O@?@IODOD@N                                                [                       [           
 $<MI<H1OM@@O
 -H<C< ,#
 "J?B@!JS                                                                                                [                              [
 !<GDAJMID<1OM@@O OC$GJJM
 1<I$M<I>DN>J !
 2C@4<IBP<M?%MJPK                                                                              [                                    
 4<IBP<M? GQ?
 +<GQ@MI .


      .PMNP<IOOJ<1>C@?PG@%ADG@?RDOCOC@1#!JI(<IP<MT  M@KJMODIB=@I@AD>D<GJRI@MNCDK<NJA"@>@H=@M  <I?<$JMHNP=N@LP@IOGTADG@?
      RDOCOC@1#!JI$@=MP<MT >>JM?DIBOJOC@1>C@?PG@%ADGDIB D 5<MM@I# PAA@OO<I? @MFNCDM@&<OC<R<T'I> @MFNCDM@ C<Q@NC<M@?QJODIBKJR@M
      <I?NC<M@?DIQ@NOH@IOKJR@MRDOCM@B<M?OJ  >JHHJINC<M@N  >JHHJINC<M@N<I?  NC<M@NPI?@MGTDIBOC@ @MFNCDM@
      5<MM<ION<NNP>CO@MHDN?@ADI@?DIOC@ADGDIB <I?DD ,<ODJI<G'I?@HIDOT!JHK<ITC<NNC<M@?QJODIBKJR@M<I?NC<M@?DIQ@NOH@IOKJR@MRDOCM@B<M?OJ
        >JHHJINC<M@N  >JHHJINC<M@N<I?  NC<M@NPI?@MGTDIBOC@ @MFNCDM@5<MM<ION 'IAJMH<ODJI<=JPOJOC@M@IODOD@N?@@H@?
      OJNC<M@=@I@AD>D<GJRI@MNCDKJAOC@NC<M@N DI>GP?DIBOC@DMQJODIB<I?DIQ@NOH@IOKJR@M DN?DN>GJN@?DIOC@1>C@?PG@%ADGDIB>>JM?DIBOJOC@$JMHADG@?RDOC
      OC@1#!JI$@=MP<MT  5<MM@I# PAA@OO<I? @MFNCDM@<>LPDM@?<I<??DODJI<G  >JHHJINC<M@NOCMJPBC,<ODJI<G'I?@HIDOT!JHK<IT<I? <NJA
      $@=MP<MT  =@I@AD>D<GGTJRI@?  >JHHJINC<M@NDIOC@<BBM@B<O@IJODI>GPNDQ@JAOC@ @MFNCDM@5<MM<ION 

      .PMNP<IOOJ<1>C@?PG@%ADG@?RDOCOC@1#!JI$@=MP<MT  M@KJMODIB=@I@AD>D<GJRI@MNCDK<NJA"@>@H=@M >>JM?DIBOJOC@ADGDIB "J?B@
      !JSC<NNJG@QJODIBKJR@MRDOCM@B<M?OJ  N@>PMDOD@N  >JHHJINC<M@N<I?  R<MM<ION NJG@DIQ@NOH@IOKJR@MRDOCM@B<M?OJ
        N@>PMDOD@N  >JHHJINC<M@N<I?  R<MM<ION <I?<BBM@B<O@=@I@AD>D<GJRI@MNCDKJA  N@>PMDOD@N  >JHHJI
      NC<M@N<I?  R<MM<ION 

      .PMNP<IOOJ<1>C@?PG@%ADG@?RDOCOC@1#!JI$@=MP<MT  M@KJMODIB=@I@AD>D<GJRI@MNCDK<NJA"@>@H=@M 

      .PMNP<IOOJ1#!MPG@N OC@K@M>@IO<B@JA>JHHJINOJ>F=@I@AD>D<GGTJRI@?=T<NC<M@CJG?@MDI>GP?@NNC<M@NOC<ORJPG?=@DNNP@?PKJI@S@M>DN@JAOC@R<MM<ION
      C@G?=TNP>CNC<M@CJG?@M=PO?J@NIJODI>GP?@OC@NC<M@NOC<OH<T=@DNNP@?PKJI@S@M>DN@JAR<MM<IONC@G?=TJOC@MNC<M@CJG?@MN




                                                                                                                                                                       ,.......
                                                                                                                                                                       CXV
     
                                                                                                                                                                       ""'
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 20 of 32




                    EXHIBIT 5
Table of Contents
                Case 1:24-md-03119-MLG-LF                     Document 126-1                      Filed 02/24/25             Page 21 of 32
                                                           UNITED STATES
                                               SECURITIES AND EXCHANGE COMMISSION
                                                        Washington, D.C. 20549

                                                                   SCHEDULE 14A

                                              Proxy Statement Pursuant to Section 14(a) of the
                                             Securities Exchange Act of 1934 (Amendment No. )

☑ Filed by the Registrant                                                                                      ☐ Filed by a party other than the Registrant

 CHECK THE APPROPRIATE BOX:
 ☐ Preliminary Proxy Statement
 ☐ Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
 ☑ Definitive Proxy Statement
 ☐ Definitive Additional Materials
 ☐ Soliciting Material under §240.14a-12




                                                 Occidental Petroleum Corporation
                                                      (Name of Registrant as Specified In Its Charter)
                                           (Name of Person(s) Filing Proxy Statement, if other than the Registrant)


 PAYMENT OF FILING FEE (CHECK ALL BOXES THAT APPLY):
 ☑ No fee required
 ☐ Fee paid previously with preliminary materials
 ☐ Fee computed on table in exhibit required by Item 25(b) per Exchange Act Rules 14a-6(i)(1) and 0-11
Table of Contents
                Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 22 of 32
Table of Contents
                   Case 1:24-md-03119-MLG-LF                                Document 126-1                    Filed 02/24/25                Page 23 of 32


Security Ownership
Certain Beneficial Owners and Management
Based on a review of ownership reports filed with the SEC on or before March 11, 2022, the entities listed below are the only beneficial owners of greater than
5% of Occidental’s outstanding voting securities as of March 11, 2022, except as otherwise indicated in the notes to the table. This information may not be
accurate or complete, and Occidental takes no responsibility for such information and makes no representation as to its accuracy or completeness as of the date
hereof or any subsequent date. This information does not include changes in share ownership reported by the reporting person after the date of this table.

BENEFICIAL OWNERSHIP OF 5% SHAREHOLDERS

                                                                     Total
                                                                Number of      Percent of                                                              Sole                 Shared
                                                               Shares and    Outstanding                       Sole              Shared          Investment             Investment
Name and Address                                           Warrants Owned Common Stock(6)              Voting Power        Voting Power              Power                   Power

Warren E. Buffett and affiliated entities(1)                    202,129,232               19.80%                    –       202,129,232                    –           202,129,232
3555 Farnam Street
Omaha, NE 68131

Dodge & Cox(2)                                                  127,619,635               13.41%         121,945,788                    –       127,619,635                        –
555 California Street, 40th Floor
San Francisco, CA 94104

The Vanguard Group(3)                                            99,516,764               10.62%                    –          1,428,973         96,008,697               3,508,067
100 Vanguard Blvd.
Malvern, PA 19355

BlackRock, Inc.(4)                                               59,581,305                6.36%          54,211,755                    –        59,581,305                        –
55 East 52nd Street
New York, NY 10055

State Street Corporation(5)                                      58,050,309                6.20%                    –         54,749,000                   –             58,018,619
1 Lincoln Street
Boston, MA 02111
(1)    Pursuant to a Schedule 13G filed with the SEC on March 4, 2022, reporting beneficial ownership as of March 1, 2022, and Forms 4 subsequently filed with the SEC on March
       4, 2022 and March 11, 2022. According to the Schedule 13G filing, (i) Warren E. Buffett and Berkshire Hathaway Inc. (Berkshire) have shared voting power and shared
       investment power with regard to 113,670,025.81 common shares (29,811,177 common shares and 83,858,848.81 shares underlying the Berkshire Warrants (as such term is
       defined in the filing)); and (ii) National Indemnity Company has shared voting power and shared investment power with regard to 72,921,412.02 common shares (5,540,827
       common shares and 67,380,585.02 shares underlying the Berkshire Warrants). Information about other entities deemed to share beneficial ownership of the shares, including
       their voting and investment power, is disclosed in the Schedule 13G filing. According to the Form 4 filed with the SEC on March 4, 2022, Warren E. Buffet and Berkshire
       acquired beneficial ownership of an additional 61,351,818 common shares through certain Berkshire subsidiaries disclosed in the Form 4 filing and, as of March 4, 2022,
       beneficially owned 91,162,995 common shares in the aggregate. According to the Form 4 filed with the SEC on March 11, 2022, Warren E. Buffet and Berkshire acquired
       beneficial ownership of an additional 27,107,389 common shares through certain Berkshire subsidiaries disclosed in the Form 4 filing, and, as of March 11, 2022, beneficially
       owned 118,270,384 common shares in the aggregate.
(2)    Pursuant to a Schedule 13G/A filed with the SEC on February 14, 2022, reporting beneficial ownership as of December 31, 2021. According to the filing, Dodge & Cox has sole
       voting power with regard to 121,945,788 securities (107,466,081 common shares and 14,479,707 warrants), sole investment power with regard to 127,619,635 securities
       (112,531,760 common shares and 15,087,875 warrants) and aggregate beneficial ownership of 127,619,635 securities (112,531,760 common shares and 15,087,875
       warrants).
(3)    Pursuant to a Schedule 13G/A filed with the SEC on February 9, 2022, reporting beneficial ownership as of December 31, 2021.
(4)    Pursuant to a Schedule 13G/A filed with the SEC on March 11, 2022, reporting beneficial ownership as of December 31, 2021.
(5)    Pursuant to a Schedule 13G/A filed with the SEC on February 11, 2022, reporting beneficial ownership as of December 31, 2021.
(6)    Pursuant to SEC rules, the percentage of common stock beneficially owned by a shareholder includes shares that would be issued upon exercise of the warrants held by such
       shareholder but does not include the shares that may be issued upon exercise of warrants held by other shareholders.



      72
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 24 of 32




                    EXHIBIT 6
            Case 1:24-md-03119-MLG-LF                        Document 126-1               Filed 02/24/25             Page 25 of 32




Occidental Petroleum Corporation
NYSE:OXY
FQ4 2019 Earnings Call Transcripts
Friday, February 28, 2020 4:00 PM GMT
S&P Global Market Intelligence Estimates
                                    -FQ4 2019-                         -FQ1 2020-                           -FY 2019-                  -FY 2020-

                   CONSENSUS           ACTUAL          SURPRISE        CONSENSUS         CONSENSUS           ACTUAL       SURPRISE     CONSENSUS

    EPS
                      (0.20)            (0.30)             NM               0.01             1.62             1.45         (10.49 %)     (0.54)
 Normalized

   Revenue
                     6366.27          6796.00              6.75          6185.92          20419.69          21232.00         3.98      24452.40
    (mm)
Currency: USD
Consensus as of Feb-28-2020 3:35 PM GMT




                                                                                   - EPS NORMALIZED -

                                                       CONSENSUS                               ACTUAL                      SURPRISE


           FQ1 2019                                             0.71                                 0.84                   18.31 %

           FQ2 2019                                             0.94                                 0.97                     3.19 %

           FQ3 2019                                             0.44                                 0.11                  (75.00 %)



COPYRIGHT © 2020 S&P Global Market Intelligence, a division of S&P Global Inc. All rights reserved                                       1
spglobal.com/marketintelligence
            Case 1:24-md-03119-MLG-LF                         Document 126-1                Filed 02/24/25   Page 26 of 32
OCCIDENTAL PETROLEUM CORPORATION FQ4 2019 EARNINGS CALL | FEB 28, 2020



in recovering additional barrels from basins currently and primary recovery, our advanced technical
excellence and decades of industry leadership in CO2 enhanced oil recovery position us to be the lowest-
cost operator across multiple basins.

As the assets we acquired are developed, we will utilize our subsurface and operating expertise to improve
productivity and reduce full-cycle cost. Our diversified portfolio with decades of high-return inventory and
our ability to produce high-margin barrels, enables us to generate sustainable free cash flow to return to
our shareholders.

Foremost, in the form of our dividend, which is one of the defining characteristics of our company. As an
innovative and sustainable leader, Oxy must boldly drive improvement on all fronts, including reducing
emissions. Our commitment to sustainability is woven into the fabric of our organization. I'm proud that
we were the first U.S.-headquartered oil and gas company to endorse the World Bank's initiative to reduce
routine flaring globally. This important effort is fully aligned with our strategic commitments.

We plan for the future through lens of being a best-in-class operator with an unmatched portfolio of assets
and the goal of reducing our greenhouse emissions while executing our strategy to excel in a low-carbon
world.

Now moving to Slide 5. The fourth quarter was our first full quarter as a combined company, and we
continued to demonstrate our position as a best-in-class operator. Our businesses outperformed across
the board. Our production of 1.4 million BOE per day from continuing operations exceeded the midpoint of
guidance by 78,000 BOE per day. We accomplished this while spending $400 million less than our full year
combined company capital budget of $8.6 billion. This demonstrates that our long-standing commitment
to capital discipline remains paramount.

Pro forma production for full year 2019 also exceeded guidance by 28,000 BOE per day. And we expect to
grow production by 2% in 2020 off this higher base, and we've lowered our already reduced 2020 capital
budget by another $100 million. Spending less to produce more barrels demonstrates our industry-leading
capital intensity and the value we will create for shareholders. That said, as global commodity prices
have declined sharply in recent days, we are prepared to reduce our spending if the current environment
does not improve. We are monitoring the situation closely and retain the flexibility to adjust our budget if
needed.

We continue to execute on our divestiture program. In January, we closed the sale of our South Africa
block to Total for net proceeds of approximately $90 million. This follows the close of an aggregate of
$1.5 billion in divestitures in the fourth quarter. We applied the proceeds from these asset sales and $500
million of free cash flow to repay $2 billion of debt, and we recently announced our 182nd consecutive
quarterly dividend, an outstanding record that few companies can claim. Returning cash to shareholders
through our sector-leading dividend is an integral part of our philosophy. In the fourth quarter, we
returned approximately $710 million of cash, an amount we fully expect to continue to grow.

Moving now to Slide 6. We continue to perform -- outperform expectations and capturing value through
synergies. Since closing the acquisition and on a run-rate basis, we have completed 60% of our $2 billion
synergy target since closing the acquisition, including $799 million of overhead synergies, $83 million of
operating synergies and $323 million of capital synergies. We expect that our success in lowering cost will
enable us to fully achieve our $900 million overhead synergy target in 2020, a year earlier than originally
promised.

We also have announced divestitures totaling $10.2 billion net of taxes since closing the acquisition,
demonstrating significant progress towards achieving our target of $15 billion. We repaid 32% of the debt
raised for the Anadarko acquisition with proceeds from the divestitures closed to date, along with the $500
million in free cash flow that I referenced earlier.

Our total balance sheet debt has decreased by approximately 30% since the close. We repaid $7 billion
of debt in the second half of 2019 and have a clear line of sight on closing the remaining transactions
necessary to meet our divestiture target. Operationally, our achievements are as significant as our cost
reductions with the potential to accomplish much more.

Copyright © 2020 S&P Global Market Intelligence, a division of S&P Global Inc. All Rights reserved.
spglobal.com/marketintelligence                                                                                              5
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 27 of 32




                    EXHIBIT 7
                       Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 28 of 32




Third Quarter
Earnings Conference Call
Occidental Petroleum Corporation
November 05, 2019
Capital Synergies to be Delivered by 2021
                               Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 29 of 32




10                                 Capital Synergies
                                   Capital Reduction
 9                                                                Capital Synergies
      $9.0 B        $0.9 B                                        •   Drill, Complete, & Equip: Design & Execution Savings
 8
                    $1.5 B                                            ― Permian Basin                                 $500 MM
 7
                                                                      ― DJ Basin                                      $105 MM
 6                                  $6.6 B
                                                                      ― Other Domestic                                $50 MM
 5
                                                                  •   Facilities & Equipment                          $110 MM
 4                                                                •   Additional Commercial Synergies                 $135 MM
 3                                                                                                                    $900 MM
 2
 1                                                                Capital Reduction
 0
                                                                  •   2020 capital reduction is greater than $1.5 B
       2019         Capital          2021
     Combined      Synergies        Capital                       •   2021 capital reduction expected to be $1.5 B from 2019
      Capital
                                                                  •   Capital reduction target achieved through moderating
      2021
      2021Capital
           Capitalsynergies
                   synergiesand
                            andreductions
                                 reduction                            production growth from 10% to 5% and asset divestitures
       assumes
       assume 5%
               5%production
                   productiongrowth
                              growthplan
                                     plan


                                                                                                                                9
Case 1:24-md-03119-MLG-LF   Document 126-1   Filed 02/24/25   Page 30 of 32




                    EXHIBIT 8
       Case 1:24-md-03119-MLG-LF                                     Document 126-1                       Filed 02/24/25                  Page 31 of 32




                                                                      UNITED STATES
                                                          SECURITIES AND EXCHANGE COMMISSION
                                                                      WASHINGTON, D.C. 20549




                                                                           FORM 8-K


                                                                     CURRENT REPORT
                                                                    Pursuant to Section 13 or 15(d)
                                                                of the Securities Exchange Act of 1934
                                                    Date of Report (Date of Earliest Event Reported): January 19, 2024




                       OCCIDENTAL(ExactPETROLEUM                           CORPORATION
                                        Name of Registrant as Specified in Charter)




                        Delaware                                                  1-9210                                                XX-XXXXXXX
             (State or Other Jurisdiction                                     (Commission                                              (IRS Employer
                   of Incorporation)                                          File Number)                                           Identification No.)


                            5 Greenway Plaza, Suite 110
                                  Houston, Texas                                                                             77046
                      (Address of Principal Executive Offices)                                                            (Zip Code)


                                                   Registrant’s Telephone Number, Including Area Code: (713) 215-7000

                                                                           Not Applicable
                                                      (Former Name or Former Address, if Changed Since Last Report)




Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following provisions:

 ☐     Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
 ☐     Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
 ☐     Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
 ☐     Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:

                                                                                                                             Name of Each Exchange on Which
                   Title of Each Class                                      Trading Symbol(s)                                           Registered
            Common Stock, $0.20 par value                                          OXY                                            New York Stock Exchange
Warrants to Purchase Common Stock, $0.20 par value                               OXY WS                                           New York Stock Exchange



Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (17 CFR 230.405) or Rule 12b-2 of
the Securities Exchange Act of 1934 (17 CFR 240.12b-2).
Emerging growth company ☐
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐
      Case 1:24-md-03119-MLG-LF                       Document 126-1               Filed 02/24/25           Page 32 of 32




Item 8.01 Other Events.

        As previously disclosed, on December 10, 2023, Occidental Petroleum Corporation, a Delaware corporation
(“Occidental”), entered into a Partnership Interest Purchase Agreement (the “Purchase Agreement”) with CrownRock Holdings,
L.P., a Delaware limited partnership (“Limited Partner”), CrownRock GP, LLC, a Delaware limited liability company (“General
Partner” and, together with the Limited Partner, the “Sellers”), Coral Holdings LP, LLC, a Delaware limited liability company and a
wholly owned indirect subsidiary of Occidental (“LP Purchaser”), and Coral Holdings GP, LLC, a Delaware limited liability
company and wholly owned indirect subsidiary of Occidental (“GP Purchaser,” together with the LP Purchaser, the “Purchasers”).
Subject to the terms and conditions of the Purchase Agreement, the Purchasers will purchase 100% of the issued and outstanding
partner interests of CrownRock, L.P., a Delaware limited partnership (“CrownRock”), from the Sellers (such transaction, the
“Acquisition” and, together with the other transactions contemplated by the Purchase Agreement, the “Transactions”).

        The Acquisition is conditioned on, among other things, the expiration or termination of the waiting period (and any
extensions thereof) under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended (the “HSR Act”). Pursuant to
the HSR Act, Occidental and the Sellers filed notification and report forms with the Department of Justice and the Federal Trade
Commission (the “FTC”).

        On January 19, 2024, Occidental and the Sellers each received a request for additional information and documentary
material (each, a “Second Request”) from the FTC in connection with the FTC’s review of the Acquisition. A Second Request
extends the waiting period imposed by the HSR Act until 30 days after each of Occidental and the Sellers have substantially
complied with the Second Request issued to them, unless that period is extended voluntarily by Occidental and the Sellers or
terminated sooner by the FTC. Occidental and the Sellers continue to work constructively with the FTC in its review of the
Acquisition.

Forward-Looking Statements

         This Current Report on Form 8-K (“Current Report”) contains forward-looking statements within the meaning of Section
27A of the Securities Act and Section 21E of the Exchange Act, including but not limited to statements about Occidental’s
expectations, beliefs, plans or forecasts. All statements other than statements of historical fact are “forward-looking statements” for
purposes of federal and state securities laws, including, but not limited to: any projections of revenue or other financial items or
future financial position or sources of financing; any statements of the plans, strategies and objectives of management for future
operations or business strategy; any statements regarding future economic conditions or performance; any statements of belief; and
any statements of assumptions underlying any of the foregoing. Words such as “estimate,” “project,” “will,” “should,” “could,”
“may,” “anticipate,” “plan,” “intend,” “believe,” “expect,” “target,” “commit,” “advance,” or similar expressions that convey the
prospective nature of events or outcomes are generally indicative of forward-looking statements. You should not place undue
reliance on these forward-looking statements, which speak only as of the date of this Current Report unless an earlier date is
specified. Unless legally required, Occidental does not undertake any obligation to update, modify or withdraw any forward-
looking statements as a result of new information, future events or otherwise.
